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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

POLICE OFFICER CRYSTAL : CIVIL ACTION
CARTER, et al. : DOCKET NO.: 2:17-cv-05842-NIQA

Plaintiffs :

v.
CITY OF PHILADELPHIA, et al. : JURY TRIAL OF TWELVE (12)
JURORS DEMANDED
Defendants.
STIPULATION

AND NOW this 24"‘ day of April, 2018, it is hereby STIPULATED and AGREED, by
and between the parties, through their undersigned counsel, that Plaintiffs’ deadline to respond to
Defendants’ Amended Motion to Dismiss Plaintifi’s First Amended Complaint is enlarged to

expire on Tuesday, May 15, 2018.

 

/s/ Matthew B. Weisberg /s/ Kia Ghee

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Attorney for Defendants
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